Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 1 of 20



                                 UNITED STATES DISTRICT COURT FOR
                                 THE SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 1:18-CV-20048-DPG

      SEBASTIAN GONZALEZ,

                 Plaintiff,

      v.

      TCR SPORTS BROADCASTING HOLDING,
      LLP d/b/a Mid-Atlantic Sports Network,
      HYUNDAI MOTOR AMERICA, INC., and
      MERCEDES-BENZ USA, LLC,

             Defendants.
      _____________________________________/

                       PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY
                      APPROVAL OF CLASS ACTION SETTLEMENT AGREEMENT

                Plaintiff Sebastian Gonzalez, on behalf of himself and as the putative representative of the

  proposed Class, moves for preliminary approval of the class action settlement set forth in the

  Parties’ Class Action Settlement Agreement (the “Settlement Agreement” or “Settlement”),

  certifying a class for settlement purposes only, a copy of which is attached as Exhibit A.1

           I.       INTRODUCTION

                In this Action, Plaintiff alleged that Defendants sent text messages to the Plaintiff’s and

  Settlement Class Members’ wireless telephones without their prior express written consent and in

  violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”). Specifically,

  Plaintiff alleged that the Settlement Class Members signed up with Defendant MASN to receive

  informational sports text updates, but then were sent messages marketing the goods of third parties,

  including co-Defendants Hyundai and Mercedes. Plaintiff sought statutory damages under the


  1
         Unless otherwise noted, all capitalized terms have the same meaning as ascribed to it in the
  Settlement Agreement.
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 2 of 20



  TCPA on behalf of himself and a proposed class of all individuals in the United States who

  received one or more marketing text messages from or on behalf of Defendants.

         This litigation has been both comprehensive and highly contentious. Since this case was

  filed, the Parties moved to remand this case to State Court, filed two motions to stay this litigation,

  and a motion to dismiss and/or strike the Plaintiff’s class allegations. The settlement negotiations

  were just as hard fought. Notwithstanding the assistance of the highly-respected and experienced

  JAMS mediator, the Hon. Wayne R. Andersen (Ret.), and a full day mediation, the Parties’ first

  mediation conference resulted in an impasse. After some time, the Parties reconvened for a second

  mediation conference, this time with the help of the highly-respected and experienced mediator

  Jillian Sperber of Judicate West. Finally, after another full day of hard-fought negotiations

  followed by two more weeks of arms’ length negotiation facilitated by Ms. Sperber, the Parties

  settled this Action.

         The cornerstone of the Settlement is the substantial, concrete monetary relief it provides to

  Settlement Class Members. As set forth in the Settlement Agreement, the Settlement creates a

  Settlement Fund of up to $2,500,000, which will be paid, pursuant to a hybrid pro rata and claims

  made basis and subject to certain deductions, to all Settlement Class Members who submit a valid

  Claim Form. The costs of notice, settlement administration, the amounts awarded by the Court for

  attorneys’ fees and expenses, and Plaintiffs’ service awards will be deducted from the Settlement

  Fund prior to payments to the Settlement Class Members. The Settlement also provides that the

  best practicable notice be provided to Class Members and calls for the designation of a reputable

  and competent professional Settlement Administrator to disseminate notice of and administer the

  Settlement.




                                                    2
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 3 of 20



            In light of the extensive monetary relief available under the Settlement Agreement and the

  discussion below, the Court should find the Settlement to be well within the bounds of

  reasonableness and, thus, should preliminarily certify for settlement purposes the Settlement Class

  and approve the Settlement Agreement.

      II.       HISTORY OF THE LITIGATION

            The record demonstrates that the Parties pursued their opposing positions comprehensively

  and zealously. On December 11, 2017, the Plaintiff filed his initial class action complaint in the

  Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida. The material

  allegations of the complaint centered on Defendants’ alleged transmission of advertisement text

  messages in alleged violation of the TCPA via an automatic telephone dialing system without prior

  express written consent from the recipients. On January 5, 2018, MASN removed this action to

  the District Court for the Southern District of Florida. In its notice of removal, MASN represented

  that all other Defendants consented to the removal. On the same day, Mercedes and Jiffy Lube

  International, Inc.2 joined in MASN’s notice of removal. Hyundai, however, filed its notice of

  removal thirty-five days after MASN had been served. On January 26, 2018, Plaintiff moved to

  remand this action to state court. (D.E. 22).

            From the outset of this Action, the Parties engaged in direct communications, and as part

  of their obligations under Fed. R. Civ. P. 26, discussed the prospect of resolution. Those

  discussions eventually led to an agreement between the Parties to engage in formal mediation,

  which the Parties agreed would take place before (Ret.) U.S. District Judge Wayne R. Andersen

  (of the U.S. District Court for the Northern District of Illinois), who is a neutral affiliated with




  2
            Jiffy Lube International, Inc. has since been dismissed from this litigation. (D.E. 54).


                                                         3
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 4 of 20



  JAMS Chicago and has substantial experience mediating consumer class actions, including class

  actions alleging violation of the TCPA.

         The Parties then jointly moved to stay the action for a period of ninety (90) days to permit

  them to mediate. (D.E. 46). On May 22, 2018, the Court stayed the Action for ninety (90) days

  and administratively closed the Action. (D.E. 47). The Court further instructed the Parties, that if

  they failed to settle, to move to reopen the Action within seven (7) days following mediation. Id.

  On July 17, 2018, the Parties participated in a mediation before Judge Andersen at JAMS’s offices

  in Chicago (“Chicago Mediation”). The Chicago Mediation lasted approximately seven hours.

  While the Parties engaged in good faith negotiations, which at all times were at arms’ length, they

  failed to reach an agreement. Notwithstanding their failure to reach an agreement at that time, the

  Chicago Mediation permitted the opportunity for the Parties to better assess the strengths and

  weaknesses of their positions and to identify the likely dispositive issues in the Action.

         On July 25, 2018, the Plaintiff moved to reopen the Action. (D.E. 50). On September 6,

  2018, the Court entered an Order reopening the Action and entering a new scheduling order. (D.E.

  51). And on September 10, 2018, the Court denied the Plaintiff’s Motion for Remand and ordered

  the Defendants to respond to Plaintiff’s Complaint. (D.E. 52).

         On October 2, 2018, Defendants moved to dismiss or strike Plaintiff’s nationwide class

  allegations on the basis that this Court could not exercise personal jurisdiction over the claims of

  the out-of-state putative class members as they related to the Defendants under the U.S. Supreme

  Court’s opinion in Bristol-Myers Squibb Co. v. Sup. Ct. of Cal., San. Fran. Cty., 137 S. Ct. 1773

  (2017). (D.E. 60) In addition, Defendants moved to stay the Action pending an interpretive

  rulemaking procedure by the Federal Communications Commission, which Defendants contended

  would be forthcoming, concerning one of the elements of Plaintiff’s case-in-chief. (D.E. 61). On




                                                   4
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 5 of 20



  October 22, 2018, Plaintiff responded in opposition to both Defendants’ motions to dismiss and

  stay the Action. (D.E. 66, 67). On November 5, 2018, Defendants filed replies in further support

  of their motions. (D.E. 68, 69).

         During this time, the Parties continued to explore settlement and on November 11, 2018,

  they attended a second full day mediation in Miami, Florida before Jill Sperber, Esq., who is a

  neutral affiliated with Judicate West and who has substantial experience mediating consumer class

  actions, including class actions alleging violations of the TCPA (“Miami Mediation”). Just like

  the Chicago Mediation, the Miami Mediation was contentious, hard fought, and lasted well into

  the evening. Again, the Parties ended the day without a settlement. In the days following the Miami

  Mediation, and with the continued help of Ms. Sperber, the Parties finally agreed on the material

  terms of a class action settlement. On December 5, 2018, the Parties executed a binding term sheet

  and filed a Joint Notice of Class Action Settlement. (D.E.70).

         Defendants at all times have denied and continue to deny any wrongdoing and have denied

  and continue to deny that any of them committed, or threatened or attempted to commit, any

  wrongful act or violation of law or duty alleged in the Action and vowed to oppose certification of

  a litigation class. Nonetheless, taking into account the uncertainty and risks inherent in any

  litigation, Defendants concluded it is desirable and beneficial that the Action be fully and finally

  settled and terminated in the manner and upon the terms and conditions set forth in the Settlement

  Agreement. Plaintiff believes that the claims asserted in the Action against Defendants have merit

  and that he would have prevailed at summary judgment and/or trial. Nonetheless, Plaintiff and

  Class Counsel recognize that Defendants raised factual and legal defenses that present a risk that

  Plaintiff may not prevail. Plaintiff and Class Counsel also recognize the expense and delay

  associated with continued prosecution of the Action against Defendants through class certification,




                                                   5
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 6 of 20



  summary judgment, trial, and any subsequent appeals. Plaintiff and Class Counsel have also taken

  into account the uncertain outcome and risks of litigation, especially in complex class actions such

  as this, as well as the difficulties inherent in such litigation. Therefore, Plaintiff believes it is

  desirable that the Released Claims be fully and finally compromised, settled, and resolved with

  prejudice. Based on its evaluation, Class Counsel has concluded that the terms and conditions of

  this Agreement are fair, reasonable, and adequate to the Settlement Class, and that it is in the best

  interests of the Settlement Class to settle the claims raised in the Action pursuant to the terms and

  provisions of this Agreement.

     III.      SETTLEMENT TERMS

            The Parties propose to certify the following Settlement Class:

                   All Persons who received one or more text messages sent by or
                   on behalf of Defendant MASN to a cellular phone between
                   December 12, 2013 and the date the Class Action Settlement
                   Agreement is preliminarily approved.

  Excluded from the Settlement Class are (1) any Judge or Magistrate presiding over this Action and

  members of their families; (2) the Defendants, Defendants’ subsidiaries, parent companies,

  successors, predecessors, and any entity in which the Defendants or their parents have a controlling

  interest and their current or former officers, directors, agents, attorneys, and employees; (3)

  persons who properly execute and file a valid and timely request for exclusion from the class; and

  (4) the legal representatives, successors or assigns of any such excluded persons.

               a. Monetary Settlement Relief

            The cornerstone of the Settlement is the substantial, concrete monetary relief it provides to

  Settlement Class Members. The Settlement Agreement allows the Settlement Class Members to

  look to a Settlement Fund of up to $2,500,000 for settlement and satisfaction of their claims.




                                                      6
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 7 of 20



          The first $1,500,000 of the Settlement Fund is entirely non-reversionary, meaning that no

  part of it can revert to Defendants under any circumstance. In addition, to the extent that the total

  amount of Approved Claims multiplied by $75 exceeds $1,500,000, the Settlement Fund will be

  increased upwards so that it equals the total amount of Approved Claims multiplied by $75 up to

  the total amount of the Settlement Fund, i.e., $2,500,000.00. The total Settlement Fund, as

  calculated above, will be used to pay all administration expenses and fees and will then be

  apportioned among the Settlement Class Members on a pro rata basis.

          To receive a Cash Award under the terms and conditions of the Settlement, a Settlement

  Class Member must, among other things, truthfully, accurately, and completely fill out and sign

  the Claim Form, attesting to their receipt of a text message, and either submit the Claim Form on

  the Settlement Website or mail the Claim Form, with first class postage prepaid, to the Settlement

  Administrator, postmarked on or before the Claims Submission Deadline.

          The amount of a Settlement Class Member’s Cash Award depends on the number of

  Persons who submit valid Claim Forms and the amounts deducted from the Settlement Fund for

  notice and class action administration, attorneys’ fees and expenses, and service awards.

          The claims process and Claim Form will be as least burdensome and time consuming as

  possible. Moreover, the Claims Form will present objective criteria that Settlement Class Members

  may fairly satisfy to receive relief.

              b. Injunctive Settlement Relief

          In addition to the substantial monetary relief that the Settlement provides, additional core

  relief includes changes to MASN’s business practice of sending marketing text messages to

  consumers. Indeed, as a current benefit, MASN represented that it has already halted its text

  message marketing program. MASN further agrees that before engaging in any new text message




                                                   7
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 8 of 20



  marketing program, that it will implement a training program and institute compliance protocols

  to ensure compliance with the Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. These

  training programs and compliance protocols will train relevant personnel on both legal compliance

  and how to maintain best practices.

             c. Class Notice and Claims Administration

         Furthermore, the Settlement Agreement requires Court appointment of a reputable Class

  Action Administrator, the dissemination of best practicable notice, a transparent settlement

  administration process, a Settlement website, a toll-free information line with taped frequently

  asked questions and a voicemail box, a centralized post-office box to correspond with Settlement

  Class Members, and a detailed process for administering Claims Payments for Settlement Class

  Members. The Parties solicited and received several estimates from nationally recognized claims

  administrators with substantial experience in class action settlements. Following review of the

  various proposals, the Parties have identified a claims administrator whom they believe is best

  suited to serve as the administrator in this particular matter. To this end, the Parties seek this

  Court’s approval to retain Angeion Group, 1650 Arch Street, Philadelphia PA 19103 to serve as

  the class action settlement claims administrator. A copy of the Declaration of Angeion Group’s

  representative attesting to Angeion Group’s qualifications is submitted herewith as Exhibit B.

         The Notice program is designed to provide the Settlement Class with important information

  regarding the Settlement and their rights thereunder, including a description of the material terms

  of the Settlement; a date by which Settlement Class members may exclude themselves from or

  “opt-out” of the Settlement Class; a date by which Settlement Class members may object to the

  Settlement, Class Counsel’s fee application and/or the request for a Service Award; the date of the




                                                  8
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 9 of 20



  Final Approval Hearing; information regarding the Settlement Website where Settlement Class

  members may access the Agreement; and other important documents.

         The costs associated with dissemination of the Class Notice and administration of the

  Settlement will be paid from the Settlement Fund, subject to the Court’s approval.

         Finally, the Defendants are required to comply with the notice provisions of the Class

  Action Fairness Act of 2005, 28 U.S.C. §1715, et seq.

         By this Motion, the Parties seek this Court’s approval of the following proposed Notices

  which are attached hereto: (i) Individual Notice Via U.S. Mail (Exhibit C); (ii) Email Notice

  (Exhibit D), and; (iii) Settlement Website Notice (Exhibit E).

             d. Objectors and Opt-Outs

         To the extent that any Settlement Class Members object to the Settlement, the Parties ask

  the Court to adopt the deadlines and procedures for objectors set forth in the proposed Class Notice

  to ensure that that all interested persons are afforded a reasonable opportunity to be heard and that

  the Final Approval Hearing may be conducted in an orderly, efficient, and just manner. First, the

  proposed Settlement provides a procedure for any Settlement Class Member who wishes to opt-

  out of the Settlement. Moreover, any Settlement Class Member or governmental entity that wishes

  to object to the proposed Settlement must do so by filing a timely written statement, containing all

  information required by the proposed Class Notice, with the Court on or before

  Objection/Exclusion Deadline. Second, any attorney or Settlement Class Member who intends to

  appear or speak at the Final Approval Hearing must enter a written notice of appearance with the

  Court on or before the Objection/Exclusion Deadline. To be timely, requests for exclusion must

  be postmarked no later than the Objection/Exclusion Deadline, and simply state the Settlement

  Class Member’s intention to exclude themselves from the Settlement.




                                                   9
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 10 of 20



             An objection must be submitted timely and contain at least the following: (1) a heading

   that refers to the Action by case name and number; (2) a statement whether the objecting

   Settlement Class Member intends to appear at the Final Approval Hearing, either in person or

   through counsel and, if through counsel, a statement identifying that counsel by name, bar number,

   address, and telephone number; and (3) a statement of the specific legal and factual basis for each

   objection.

             The Settlement Agreement also provides for the Court’s Preliminary Approval Order to

   contain a temporary injunction enjoining other proceedings relating to the Released Claims in

   order to preserve the status quo pending the Court’s final decision on the reasonableness and

   fairness of the Settlement.

                e. Release of Claims

             In exchange for the Settlement consideration, Plaintiff and all Settlement Class members

   have agreed to the release defined in the Agreement.

       IV.      THE PROPOSED SETTLEMENT IS WITHIN THE RANGE OF
                REASONABLENESS, MEETS ALL RULE 23(e) REQUIREMENTS AND
                WARRANTS PRELIMINARY APPROVAL

             Rule 23(e) of the Federal Rules of Civil Procedure provides that before a class action may

   be dismissed or compromised, notice must be given in the manner directed by the Court, and

   judicial approval must be obtained. Fed. R. Civ. P. 23(e). “[I]n analyzing any settlement, ‘the

   clear policy in favor of encouraging settlements must . . . be taken into account.’” Ass’n for

   Disabled Ams., Inc. v. Amoco Oil Co., 211 F.R.D. 457, 466 (S.D. Fla. 2002) (citation omitted);

   Lipuma v. Am. Express Co., 406 F. Supp. 2d 1298, 1314 (S.D. Fla. 2005) (same); Cotton v. Hinton,

   559 F.2d 1326, 1331 (5th Cir. 1977)3 (same). Moreover, “[i]n evaluating a settlement’s fairness, it


   3
          In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh Circuit
   adopted as binding precedent all Fifth Circuit decisions prior to October 1, 1981.


                                                      10
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 11 of 20



   should [not] be forgotten that compromise is the essence of a settlement. The trial court should not

   make a proponent of a proposed settlement justify each term of settlement against a hypothetical

   or speculative measure of what concessions might [be] gained.” Ass’n for Disabled Ams., 211

   F.R.D. at 467 (internal quotations omitted); Access Now, Inc. v. Claire’s Stores, Inc., No. 00-cv-

   14017, 2002 WL 1162422, at *4 (S.D. Fla. May 7, 2002) (same).

          “Judicial review of a proposed class action settlement is a two-step process: preliminary

   approval and a subsequent fairness hearing.” Smith v. Wm. Wrigley Jr. Co., No. 09-c-60646, 2010

   WL 2401149, at *2 (S.D. Fla. June 15, 2010) (citations omitted). In the first step, the Court

   determines whether the proposed settlement should be preliminarily approved. See David F. Herr,

   ANNOTATED MANUAL FOR COMPLEX LITIGATION § 21.632 (4th ed. 2004). In the second step, after

   hearing from any objectors and being presented with declarations and materials to support the

   fairness of the settlement, the court makes a final decision whether the settlement should be finally

   approved. See id. §§ 21.633-35.

          “Preliminary approval is appropriate where the proposed settlement is the result of the

   parties’ good faith negotiations, there are no obvious deficiencies and the settlement falls within

   the range of reason.” Wm. Wrigley Jr. Co., 2010 WL 2401149, at *2 (citations omitted). At the

   preliminary approval stage, the court makes the preliminary determination whether the proposed

   settlement is within the range of fairness, reasonableness, and adequacy so as to justify notice to

   the class of the settlement, and the setting of a final fairness hearing to decide whether the proposal

   is indeed fair, reasonable, and adequate in the ultimate sense. MANUAL FOR COMPLEX LITIGATION §

   21.632 (4th ed. 2004); see also 4 Herbert N. Newberg & Alba Conte, NEWBERG ON CLASS ACTIONS,

   §11.25 (4th ed. 2002); Fresco v. Auto Data Direct, Inc., No. 03- 61063, 2007 U.S. Dis. LEXIS

   37863, at *11-12 (S.D. Fla. May 11, 2007); Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir.




                                                     11
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 12 of 20



   1984) (a proposed settlement must be “fair, adequate and reasonable and [not] the product of

   collusion between the parties.”).

          Here, the proposed Settlement Agreement is within the range of reasonableness and

   warrants its notice to Settlement Class Members.

              a.   The Proposed Notice and Class Administration Protocols Warrant Providing
                   Notice to the Class

          As set forth above, the proposed notice and class administration protocols are designed to

   provide the best notice practicable. Through a combination of direct mail, email, website

   interaction, and a targeted digital media program, the proposed notice protocol provides clear and

   concise information about the settlement terms, class members’ rights, and is designed to reach as

   many members of the settlement class as possible.

              b. The Settlement Provides Substantial Relief

          “[A] settlement can be satisfying even if it amounts to a hundredth or even a thousandth of

   a single percent of the potential recovery.” Beherens v. Wometco Enterprises, Inc., 18 F.R.D. 534,

   542 (S.D. Fla. 1988). This Settlement meets a critical test in gauging its fairness and

   reasonableness because it provides significant, concrete relief to affected class members and

   directly remedies the injury alleged in the Action. The gravamen of Plaintiff’s Complaint was that

   he and the Settlement Class Members received text messages from Defendants without their

   consent and thus entitled to compensation under the TCPA. Accordingly, the Settlement creates

   $2,500,000 Settlement Fund to compensate Settlement Class Members who are allegedly entitled

   to compensation under the TCPA. Settlement Class Members will be able to receive payment by

   submitting a simple Claim Form either by hard copy or online. The Settlement thus directly

   addresses the claimed harm.




                                                  12
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 13 of 20



          In fact, the Settlement does more than provide the Settlement Class Members with

   immediate monetary relief. MASN, the Defendant Plaintiff alleges was responsible for sending

   the alleged text messages, has represented that its text message marketing program has already

   been discontinued. Additionally, this Settlement is contingent on Defendant’s agreement that any

   future text messaging campaigns it initiates will be fully compliant with the TCPA, follow best

   practices, and be instituted only after appropriate training protocols have been instituted.

              c. The Settlement Provides Immediate Relief to 211,000 Class Members

          That this Settlement would eliminate the delay and expenses of litigation also strongly

   weighs in favor of approval. See, e.g., In re Telectronics Pacing Sys., Inc., 137 F. Supp. 2d 985,

   1013 (S.D. Ohio 2001). For class actions in particular, courts view settlement favorably because it

   “avoids the costs, delays and multitudes of other problems associated with them.” Id. at 1013.

   “[C]lass action suits have a well deserved reputation as being most complex.” Cotton, 559 F.2d at

   1331. “The Court should consider the vagaries of litigation and compare the significance of

   immediate recovery by way of the compromise of the mere possibility of relief in the future, after

   protracted and extensive litigation. In this respect, [as this Court has observed] ‘[i]t has been held

   proper to take the bird in the hand instead of a prospective flock in the bush.’” Borcea v. Carnival

   Corp., 238 F.R.D. 664, 674 (S.D. Fla. 2006) (citation omitted).

          Absent a settlement, the final resolution of this litigation through the trial process will likely

   require several years of protracted adversarial litigation and appeals, which will delay relief to the

   211,000 Settlement Class Members. The proof necessary to prevail at trial in this case will be far

   greater than what is required under the Settlement. Settlement Class Members may receive

   immediate economic relief under the Settlement without any documentation whatsoever other than

   a simple Claim Form. It is clearly advantageous for Settlement Class Members to be eligible to




                                                     13
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 14 of 20



   obtain this significant financial relief without further delay or extensive proof. By reaching this

   Settlement, the Parties will avoid further protracted litigation and will establish a means for

   prompt, streamlined resolution of Settlement Class Members’ claims against Defendants with

   relaxed burdens of proof. Given the alternative of long and complex litigation before this Court,

   the risks involved in such litigation, the potential evidentiary issues, and the possibility of further

   appellate review, the availability of prompt relief under the Settlement is highly beneficial to

   Settlement Class Members.

               d. The Settlement is a Product of Well-Informed, Arm’s Length Negotiations

           A class action settlement should be approved so long as a district court finds that “the

   settlement is fair, adequate and reasonable and is not the product of collusion between the parties.”

   Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977); see also Lipuma v. American Express Co.,

   406 F. Supp. 2d 1298, 318-19 (S.D. Fla. 2005) (approving class settlement where the “benefits

   conferred upon the Class are substantial, and are the result of informed, arms-length negotiations

   by experienced Class Counsel”).

           The Settlement here is the result of extensive, arm’s-length negotiations between

   experienced attorneys who are most knowledgeable with this class action litigation and with the

   legal and factual issues of this Action. Furthermore, Class Counsel are experienced in the litigation,

   certification, trial, and settlement of nationwide class action cases and zealously represented the

   Plaintiff throughout this litigation.

           In negotiating this Settlement, Class Counsel had the benefit of years of experience in

   litigating and settling complex class actions and have an intimate familiarity with the facts of the

   Action. Class Counsel received class discovery as part of the mediation process, and this enabled

   them to gain a better understanding of the marketing program at issue. Class Counsel also




                                                     14
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 15 of 20



   conducted a thorough analysis of Plaintiff’s claims and conducted an extensive investigation into

   Defendants’ alleged conduct.

              e. Complexity, Expense, and Duration of Litigation

           The traditional means for handling claims like those at issue here tax the court system,

   require massive expenditures of public and private resources, and, given the relatively small value

   of the claims of the individual class members, would be impracticable. Thus, the Settlement is the

   best vehicle for Settlement Class Members to receive the relief to which they claim entitlement in

   a prompt and efficient manner.

      V.      THE CLASS SHOULD BE CONDITIONALLY CERTIFIED

           “Confronted with a request for settlement-only class certification, a district court need not

   inquire whether the case, if tried, would present intractable management problems . . . for the

   proposal is that there be no trial.” Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620 (1997).

           Certification of the proposed Settlement Class will allow notice of the Settlement to issue

   to inform Settlement Class members of the existence and terms of the Settlement, of their right to

   object and be heard on its fairness, of their right to opt-out, and of the date, time and place of the

   Final Approval Hearing. See Manual for Compl. Lit., at §§ 21.632, 21.633. For the reasons set

   forth below, certification is appropriate under Fed. R. Civ. P. 23(a) and (b)(3).

              a. The Requirements of Fed. R. Civ. P. 23(a)(1)-(4) Are Satisfied

           Certification under Fed. R. Civ. P. 23(a) of the Federal Rules of Civil Procedure requires

   that (1) the class is so numerous that joinder of all members is impracticable, (2) there are questions

   of law or fact common to the class, (3) the claims or defenses of the representative parties are

   typical of the claims or defenses of the class, and (4) the representative parties will fairly and

   adequately protect the interests of the class.




                                                     15
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 16 of 20



                        1. Numerosity

          The numerosity requirement of Fed. R. Civ. P. 23(a) is satisfied because the Settlement

   Class consists of approximately 211,000 individuals residing throughout the United States and

   joinder of all such persons is impracticable. See Fed. R. Civ. P. 23(a)(1); Kilgo v. Bowman Trans.,

   789 F.2d 859, 878 (11th Cir. 1986) (numerosity satisfied where plaintiffs identified at least 31

   class members “from a wide geographical area”).

                        2. Commonality

          “Commonality requires the plaintiff to demonstrate that the class members ‘have suffered

   the same injury,’” and the plaintiff’s common contention “must be of such a nature that it is capable

   of classwide resolution – which means that determination of its truth or falsity will resolve an issue

   that is central to the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v.

   Dukes, 564 U.S. 338, 131 S. Ct. 2541, 2551 (2011) (citation omitted). Here, the commonality

   requirement is readily satisfied. There are multiple questions of law and fact – centering on

   Defendants’ text marketing – that are common to the Settlement Class, that are alleged to have

   injured all Settlement Class members in the same way, and that would generate common answers.

                        3. Typicality

          For similar reasons, Plaintiff’s claims are reasonably coextensive with those of the absent

   class members such that the Fed. R. Civ. P. 23(a)(3) typicality requirement is satisfied. See

   Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984) (typicality satisfied

   where claims “arise from the same event or pattern or practice and are based on the same legal

   theory”); Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001) (named plaintiffs are typical

   of the class where they “possess the same interest and suffer the same injury as the class

   members”). Plaintiff is typical of the absent Settlement Class members because he received the




                                                    16
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 17 of 20



   same or similar text messages and suffered the same injuries, and because they will all benefit

   from the relief provided by the Settlement.

                       4. Adequacy of Representation

          Plaintiff and Class Counsel also satisfy the adequacy of representation requirement.

   Adequacy under Fed. R. Civ. P. 23(a)(4) relates to (1) whether the proposed class representative

   has interests antagonistic to the class; and (2) whether the proposed class counsel has the

   competence to undertake this litigation. Fabricant, 202 F.R.D. at 314. The focus is on “the

   forthrightness and vigor with which the representative party can be expected to assert and defend

   the interests of the members of the class.” Lyons v. Georgia-Pacific Corp. Salaried Employees

   Ret. Plan, 221 F.3d 1235, 1253 (11th Cir. 2000) (internal quotation marks omitted). Plaintiff’s

   interests are coextensive with, not antagonistic to, the interests of the Settlement Class, because

   Plaintiff and the absent Settlement Class members have the same interest in the relief afforded by

   the Settlement, and the absent Settlement Class members have no diverging interests. Further,

   Plaintiff and the Settlement Class are represented by qualified and competent Class Counsel who

   have extensive experience and expertise prosecuting complex class actions. Class Counsel

   devoted substantial time and resources to vigorous litigation of the Action. Class Counsel’s

   Resume is submitted herewith as Exhibit F. Declarations of Class Counsel is submitted herewith

   as Exhibit G.

              b. The Requirements of Fed. R. Civ. P. 23(b)(3) Are Satisfied

          Under Fed. R. Civ. P.23(b)(3), certification is appropriate if the questions of law or fact

   common to the members of the class predominate over individual issues of law or fact and if a

   class action is superior to other available methods for the fair and efficient adjudication of the

   controversy.




                                                   17
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 18 of 20



                        1. Common Questions Predominate

            Plaintiff readily satisfies the Rule 23(b)(3) predominance requirement because liability

   questions common to all Settlement Class members substantially outweigh any possible issues that

   are individual to each Settlement Class member.

                        2. Class Treatment of Plaintiff’s Claims is Superior

      Finally, resolution of hundreds of thousands of claims in one action is far superior to individual

   lawsuits, because it promotes consistency and efficiency of adjudication. See Fed. R. Civ. P.

   23(b)(3). For these reasons, the Court should certify the Settlement Class.

      VI.      THE PROPOSED NOTICE WILL AFFORD                             SETTLEMENT          CLASS
               MEMBERS WITH AMPLE DUE PROCESS

            “Rule 23(e)(1)(B) requires the court to direct notice in a reasonable manner to all class

   members who would be bound by a proposed settlement, voluntary dismissal, or compromise

   regardless of whether the class was certified under Rule 23(b)(1), (b)(2), or (b)(3).” Manual for

   Compl. Lit. § 21.312 (internal quotation marks omitted). The best practicable notice is that which

   is “reasonably calculated, under all the circumstances, to apprise interested parties of the pendency

   of the action and afford them an opportunity to present their objections.” Mullane v. Cent. Hanover

   Bank & Trust Co., 339 U.S. 306, 314 (1950). To satisfy this standard, “[n]ot only must the

   substantive claims be adequately described but the notice must also contain information reasonably

   necessary to make a decision to remain a class member and be bound by the final judgment or opt-

   out of the action.” Twigg v. Sears, Roebuck & Co., 153 F.3d 1222, 1227 (11th Cir. 1998) (internal

   quotation marks omitted); see also Manual for Compl. Lit., § 21.312 (listing relevant information).

            The Notice satisfies all of these criteria. As recited in the Settlement and above, the

   proposed Notice program will inform Settlement Class members of the substantive terms of the

   Settlement. It will advise Settlement Class members of their options for remaining part of the



                                                    18
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 19 of 20



   Settlement Class, for objecting to the Settlement, Class Counsel’s Attorneys’ fee application

   and/or request for Service Award, or for opting-out of the Settlement, and how to obtain additional

   information about the Settlement. The Notice is designed to reach the highest percentage of

   Settlement Class members as practicable and far exceeds the requirements of Constitutional Due

   Process.

      VII.    PROPOSED SCHEDULE

          In connection with the preliminary approval of the Settlement, the Court should set a date

   and time for the Final Approval Hearing, as well as other deadlines relevant to the Claim

   submission progress. Class Counsel propose the following schedule:

                      Event                                             Timeline
    Deadline for Completion of Notice                35 days after entry of the Preliminary
                                                     Approval Order
    Deadline for filing Motion for Final Approval
    of the Settlement                                14 days before Final Approval Hearing
    Deadline For Counsel’s Fee Application and       45 Days Prior to the Final Approval Hearing
    expenses and for Service Award
    Deadline for opting-out of the Settlement and    30 days before Final Approval Hearing
    for submission of Objections
    Deadline for Responses to Objections             10 days before the Final Approval Hearing
    Final Approval Hearing                           90 days after Preliminary Approval
    Last day Class Claimants may submit a Claim      60 days after the Final Approval Hearing
    Form


      VIII. CONCLUSION

          Based on the foregoing, Plaintiff and Class Counsel respectfully request that the Court: (1)

   preliminarily approve the Settlement; (2) certify the proposed Settlement Class for settlement

   purposes; (3) approve the Notice program set forth in the Agreement and approve the form and

   content of the Notices and Claim Form as attached to the Settlement Agreement; (4) approve and

   order the opt-out and objection procedures set forth in the Agreement; (5) adopt the proposed

   schedule above; (6) appoint Sebastian Gonzalez as Class Representative; (7) appoint Ruben


                                                    19
Case 1:18-cv-20048-DPG Document 76 Entered on FLSD Docket 02/05/2019 Page 20 of 20



   Conitzer and David Milian of Carey Rodriguez Milian Gonya, LLP as Class Counsel; and (8)

   schedule a Final Approval Hearing. A Proposed Preliminary Approval Order is submitted herewith

   as Exhibit H.

   February 5, 2019                           Respectfully submitted,

                                              CAREY RODRIGUEZ
                                              MILIAN GONYA LLP
                                              1395 Brickell Avenue, Suite 700
                                              Miami, FL 33131
                                              Telephone: (305) 372-7474
                                              Facsimile: (305) 372-7475

                                              By: /s/ David P. Milian
                                              David P. Milian (Fla. Bar No. 844421)
                                              Email: dmilian@careyrodriguez.com
                                              Secondary: ecf@careyrodriguez.com
                                              David M. Levine (Fla. Bar No. 84431)
                                              Email: dlevine@careyrodriguez.com
                                              Secondary: cperez@careyrodriguez.com
                                              Ruben Conitzer (Fla. Bar No. 100907)
                                              Email: rconitzer@careyrodriguez.com
                                              Counsel for Plaintiff

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY a true and correct copy of the foregoing was filed with the Clerk of

   the Court and served upon counsel of record included on the service list below via CM/ECF and

   served on February 5, 2019.

                                              By: /s/ David P. Milian
                                              David P. Milian (Fla. Bar No. 844421)
   Service List

   GREENBERG TRAURIG, P.A.                           GREENBERG TRAURIG, LLP
   333 SE 2nd Avenue                                 1840 Century Park E, Suite 1900
   Miami, FL 33131                                   Los Angeles, CA 90067
   David A. Coulson                                  Robert J. Herrington Admitted Pro Hac Vice
   coulsond@gtlaw.com                                herringtonr@gtlaw.com
   Ian M. Ross                                       Counsel for Defendant
   ross@gtlaw.com                                    TCR Sports Broadcasting Holding, LLP




                                                20
